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1                     IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
2                                EASTERN DIVISION
3
4    NATHSON E. FIELDS,            )
                                   )
5                      Plaintiff, )             Docket No. 10 C 1168
                                   )
6                 vs.              )
                                   )
7    CITY OF CHICAGO, et al.,      )            Chicago, Illinois
                                   )            July 8, 2010
8                      Defendants. )            10:00 a.m.
9
                            TRANSCRIPT OF PROCEEDINGS
10                  BEFORE THE HONORABLE MATTHEW F. KENNELLY
11
     APPEARANCES:
12
13   For the Plaintiff:           LEONARD GOODMAN LAW OFFICE, LLC
                                       BY: MR. LEONARD C. GOODMAN
14                                     53 West Jackson Boulevard
                                       Chicago, Illinois 60604
15
                                  LAW OFFICE OF MOLLY ARMOUR
16                                     BY: MS. MOLLY ARMOUR
                                       4050 North Lincoln Avenue
17                                     Chicago, Illinois 60018
18
19
     For the Defendant:           DYKEMA GOSSETT PLLC
20                                     BY: MS. KIMBERLY FAHRBACH
                                       10 South Wacker Drive, Suite 2300
21                                     Chicago, Illinois 60606
22
                                  COOK COUNTY STATE'S ATTORNEY
23                                     BY: MR. STEPHEN L. GARCIA
                                       500 Richard J. Daley Center
24                                     Chicago, Illinois 60602
25
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1                 LAURA M. BRENNAN - Official Court Reporter
                     219 South Dearborn Street - Room 2102
2                           Chicago, Illinois 60604
                                (847) 373-5598
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1           (The following proceedings were had in open court:)
2                THE CLERK: 10 C 1168, Fields v. City.
3                THE COURT: Good morning.
4                MS. FAHRBACH: Good morning, your Honor; Kimberly
5    Fahrbach on behalf of the defendants.
6                MR. GOODMAN: Leonard Goodman and Molly Armour for
7    Mr. Fields.
8                MR. GARCIA: Your Honor, good morning. Stephen
9    Garcia on behalf of defendants Wharrie and Kelly.
10               THE COURT: Okay. What is the status of the case?
11               MS. FAHRBACH: Judge, the plaintiff filed their
12   amended complaint on June 28th. We would like about 45 days
13   to respond. We represent 12 different people, and it's going
14   to be at least a partial motion to dismiss.
15               THE COURT: Is it going to be the same motion that
16   you filed before that I denied?
17               MS. FAHRBACH: I would hope not.
18               MR. GARCIA: In this case.
19               MS. FAHRBACH: No.
20               THE COURT: I think the only right answer to that
21   question is no.
22               MS. FAHRBACH: No.
23               THE COURT: Okay. So were there new claims that were
24   added?
25               MS. FAHRBACH: Well, you know, I just looked at it
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1    this morning. I noted Jody Weis -- he caught my eye as being
2    someone who is sued, and obviously he didn't come in to work
3    with the City just a couple years ago.
4                THE COURT: He wasn't in the original -- no, no, he
5    was in the original.
6                MS. FAHRBACH: So there's certain superintendents.
7    We just need to talk to the clients. There's some people that
8    just don't belong. I can see that right away.
9                THE COURT: Okay, and you think that is something
10   that can be determined by a motion to dismiss.
11               Well, I will give you 45 days to file answers. I'm
12   not giving you 45 days to file motions to dismiss.
13               MS. FAHRBACH: Okay. Is there a time frame for a
14   partial motion to dismiss?
15               THE COURT: You have had the complaint since when?
16   You said the 28th of June.
17               MS. FAHRBACH: The 28th.
18               THE COURT: I will give you three more weeks.
19               MS. FAHRBACH: Okay.
20               THE COURT: Any motion --
21               What is this, the second amended or the first
22   amended?
23               MR. GOODMAN: First amended.
24               THE COURT: Any motions to dismiss the first amended
25   complaint are to be filed by the 29th of July, and any answers
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1    are to be filed by, let's say, the 19th of August, which is
2    another three weeks beyond that.
3                So what else is happening, anything?
4                MR. GARCIA: Judge, from my perspective, I represent
5    the State's Attorney defendants.
6                It appears that a number of them have been dismissed
7    and that they have not been named. I just want to clarify
8    that: Defendants Alvarez, Devine, O'Malley, Sexton, Rueckert,
9    Goldfarb and Fitzgerald.
10               THE COURT: So when you say --
11               In other words, they don't appear as defendants in
12   the first amended complaint.
13               MR. GARCIA: Correct.
14               THE COURT: So was it your intention, anybody who
15   doesn't appear as a defendant in the first amended complaint,
16   to drop them?
17               MR. GOODMAN: Yes.
18               MR. GARCIA: That's all --
19               THE COURT: Okay. So I haven't set any kind of a
20   schedule on it yet.
21               MR. GARCIA: No, Judge.
22               THE COURT: Discovery schedule, I mean.
23               MR. GARCIA: What happened is plaintiff filed pro se,
24   and then you gave him time to find counsel. So that is
25   basically what happened. Counsel has come in, amended his pro
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1    se --
2                THE COURT: I confused this case with another one. I
3    didn't previously deny a motion to dismiss in this case. My
4    mistake. I apologize for that. I was thinking of another
5    case.
6                So I haven't denied any motions to dismiss. So you
7    don't have to worry about repeating yourself. All right.
8                So this is what I want you to do. I want you to sit
9    down and try to agree on a schedule, and I'm going to have you
10   come back right after the deadline for motions to dismiss, and
11   then I'm going to enter a schedule then because my guess is
12   some people are going to answer and some people are going to
13   move to dismiss. It's not really going to change the scope of
14   discovery that much.
15               So I'd like you to come -- I'm going to set it for a
16   status on, let's say, the 5th of August at 9:30. I'd like
17   you --
18               If there's any motions to dismiss, just notice them
19   up for that date.
20               MS. FAHRBACH: Okay.
21               THE COURT: But also talk try to talk about a
22   discovery schedule. Okay.
23               MR. GOODMAN: Thank you, Judge.
24               THE COURT: Thanks.
25               MS. FAHRBACH: Thank you.
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1                MR. GARCIA: Thank you.
2         (Which were all the proceedings had in the above-entitled
3    cause on the day and date aforesaid.)
4
5
6                               C E R T I F I C A T E
7
8              I hereby certify that the foregoing is a true and
9    correct transcript of the above-entitled matter.
10
11
12   /s/ Laura M. Brennan                                  November 1, 2017
13
14
     Laura M. Brennan
15   Official Court Reporter                                       Date
     Northern District of Illinois
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